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Dear Judge,
I have known Vladislav Klyushin since 2017. Unfortunately, not as close as I would have liked. Vlad is an
infectiously cheerful person! He is always full of positive energy, optimistic, thoughtful and attentive in any
given situation. What always surprises and delights, is his ability to think in creative ways, his organizational
skills and great education. All this combined with rare business qualities, like honesty, responsibility, focus
- not just on results, but also on achieving highest possible marks in everything.
Our company had the pleasure of cooperating with Vladislav on an animated film project about the
protection of the Hermitage Museum artefacts during the Second World War. While working on the project
Vladislav proved himself as a high-level organizer, actively involved in all steps of the production. He also
proved himself as a leader capable of understanding the human side of the equation, any problems
personal or creative of all involved. We got to know him as an enthusiastic, creative person, and a
wonderful family man. Especially important to us was his personal interest in the preservation of artistic
historical heritage, his principal stand against war and anything destructive.



Dmitry Pachulia, Director of the Production Department of           Story Media LLC
